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IN THE UNITED STATES DISTRICT COUR'I'05 AUG |7 PH l-' 110
FOR THE WESTERN DISTRICT OF TENNESSEE news M

 

WESTERN DIVISION am U,S_ !~.,T§§¥m
W/D G.F W ammsz
KAVIN M. CARTER,
Plaintiff, CaSe NO.: 04-2832 D V

V.

CITIFINANCIAL MOR'I`GAGE COMPANY,
INC., et al.,

Defendants.

 

ORDER

 

Before the court is the Plaintiff’s motion for appointment of counsel (Docket #2). For
cause, the motion is DENIED.

IT IS So 0RDERE1) this 1 '7“'" day 015/4 Fc£ ,2005.

  

TED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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August 18, 2005 to the parties listed.

 

Kavin M. Carter
6894 Rockbrook Drive
Memphis7 TN 38141

Honorable Bernice Donald
US DISTRICT COURT

